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                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                         )
                                                  )
              Plaintiff,                          )
                                                  )
       vs.                                        )              Cr. No. 05-1849 JH
                                                  )
DANA JARVIS, et al.,                              )
                                                  )
              Defendants.                         )


                    UNITED STATES' MOTION FOR
      LEAVE TO FILE SURREPLY RE: “DEFENDANTS’ JOINT MOTION
  FOR DISCLOSURE AND PRODUCTION OF CONFIDENTIAL INFORMANTS”

       COMES NOW the United States of America, by and through David C. Iglesias,

United States Attorney for the District of New Mexico, and James R.W. Braun, Assistant

United States Attorney for said District, and hereby moves the court for leave to file a

surreply re: “Defendants’ Joint Motion for Disclosure and Production of Confidential

Informants” (Doc. 722), and in support thereof states:

       1. On October 20, 2006, defendant Dana Jarvis filed “Defendants’ Joint Motion

for Disclosure and Production of Confidential Informants.” The United States filed a

timely response to the motion and thereafter Jarvis filed a timely reply to the United

States’ response.

       2. In his reply, Jarvis requests additional material that was not requested in his

initial motion, and expands upon some requests that were made in his initial motion. As
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Jarvis agrees in his reply, (Def. Reply at 8), the United States should be allowed to file a

surreply to address the arguments made in Jarvis’s reply.

       3. The United States has drafted a surreply, which is attached hereto for the

court’s review.

       WHEREFORE, the United States requests leave of the court to file the surreply

attached hereto.

                                                  Respectfully submitted,

                                                  DAVID C. IGLESIAS
                                                  United States Attorney

                                                  /s/ James R.W. Braun

                                                  JAMES R.W. BRAUN
                                                  Assistant U.S. Attorney
                                                  P.O. Box 607
                                                  Albuquerque, NM 87103
                                                  (505) 346-7274


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 8 th day of January, 2007, I filed the foregoing
pleading electronically through the CM/ECF system, which caused counsel of record for
defendant Dana Jarvis, Joe Romero, Jr., and Jody Neal-Post, to be served by electronic
means.

                                                  /s/ James R.W. Braun

                                                  JAMES R.W. BRAUN
                                                  Assistant U.S. Attorney




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